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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION

UNITED STATES OF AMERICA                 §     No. 1:23-CV-853-DAE
          Plaintiff                      §
                                         §
vs.                                      §
GREG ABBOTT, in his capacity as          §
Governor of the State of Texas, and      §
                                         §
THE STATE OF TEXAS,
                                         §
                                         §
          Defendants.
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               _
              ORDER   FOR BRIEFING AND SETTING HEARING

              Before the Court is a Motion for Preliminary Injunction filed by Plaintiff the

 United States of America against Defendants Greg Abbott, in his official capacity as

 Governor of the State of Texas, and the State of Texas (together, “Defendants”) on July

 24, 2023. (Dkt. # 1.)

             Defendants are hereby ORDERED to submit briefing in response to the Motion

 for Preliminary Injunction by or on August 9, 2023. Plaintiff is ORDERED to submit reply

 briefing in in response by or on August 16, 2023.

               The parties are to appear for a hearing on the Motion for Preliminary

  Injunction in Courtroom 2 of the Federal Courthouse, 501 W. 5th St., in Austin, Texas,

  at 9:00AM on August 22, 2023.

               IT IS SO ORDERED.

               DATED: Austin, Texas, August 3, 2023.

                                                         ______________________________________
                                                         David Alan Ezra
                                                         Senior United States District Judge
